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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

ROGER McINTOSH, CASE NO. CV F 07-1080 LJO GSA

Plaintiff,
VS.

NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES,
INC., LOTUS DEVELOPMENTS,
LP, THE CITY OF WASCO, AND
DENNIS W. DeWALT, INC.,

Defendants.
f

NOTE FROM THE JURY

The jury has reached a unanimous verdict.

____ The jury requests the following :

FILED

MAR 1-6 2010

CLERK, U.S. ois TRICT COURT

EASTERN DISTAICT OF CALIFORNIA
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____ The jury has the following question(s):

RE Pre m lunch

DATED: March 2010 ford Boa———

PR RSIDING JUROR

cont
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